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 DEFENDANT 15:      ROBERT PAINTER

 YOB:               1970

 ADDRESS:           Denver County, Colorado

 COMPLAINT FILED?              YES          NO

        IF YES, PROVIDE MAGISTRATE CASE NUMBER:

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                            YES            NO

 OFFENSE:    COUNT ONE – Title 21, United States Code, Sections 841(a)(1),
             841(b)(1)(B)(ii)(II), 841(b)(1)(B)(iii), 841(b)(1)(C), and 846: On or about and
             between June 1, 2013, and June 4, 2014, both dates being approximate and
             inclusive, did knowingly and intentionally conspire to distribute and possess with
             the intent to distribute, one or more of the following controlled substances: (1)
             more than 500 grams but less than 5 kilograms of a mixture or substance
             containing a detectable amount of cocaine, a Schedule II Controlled Substance;
             (2) more than 28 grams but less than 280 grams of a mixture or substance which
             contains cocaine base; (3) less than 100 grams of a mixture or substance
             containing a detectable amount of heroin, a Schedule I Controlled Substance; (4)
             less than 50 grams of a mixture or substance containing a detectable amount of
             methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II
             Controlled Substance.

             COUNT TWENTY-SIX: Title 21, United States Code, Sections 841(a)(1),
             841(b)(1)(C) and 860; and Title 18, United States Code, Section 2 - did
             knowingly and intentionally distribute and possess with the intent to distribute
             less than 50 grams of a mixture or substance containing a detectable amount of
             methamphetamine, a Schedule II Controlled Substance, in violation of Title 21,
             United States Code section 841(a) within 1000 feet of the real property
             comprising Aurora West College Preparatory Academy, a public secondary
             school; and did knowingly and intentionally aid, abet, counsel, command, induce
             or procure the same.

             COUNTS TWENTY-SEVEN, TWENTY-NINE, THIRTY-ONE, FIFTY-FOUR
             AND FIFTY-FIVE: Title 21, United States Code, Sections 843(b) and 843(d) –
             did knowingly or intentionally use a communications device, specifically a
             telephone, in committing, or in causing or facilitating the commission of, a felony
             delineated in Title 21 of the United States Code.
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                 COUNT FIFTY-THREE: Title 21, United States Code, Sections 841(a)(1) and
                 841(b)(1)(C) and Title 18, United States Code, Section 2 – On or about March 2,
                 2014, did knowingly and intentionally distribute and possess with the intent to
                 distribute less than 500 grams of a mixture or substance containing a detectable
                 amount of cocaine, a Schedule II controlled substance, and did knowingly and
                 intentionally aid, abet, counsel, command, induce or procure the same.

                 Notice of Forfeiture


 LOCATION OF OFFENSE:                 Arapahoe County, Colorado
 (COUNTY/CITY/STATE)

 PENALTY:        COUNT ONE: NLT 5 years and NMT 20 years imprisonment, $5 million fine, or
                 both; NLT 4 years supervised release, $100 Special Assessment Fee.

                 COUNT TWENTY-SIX: NMT 20 years imprisonment, $1 million fine, or both;
                 NLT 3 years supervised release, $100 Special Assessment Fee.

                 COUNTS TWENTY-SEVEN, TWENTY-NINE, THIRTY-ONE, FIFTY-FOUR
                 AND FIFTY-FIVE: NMT 4 years imprisonment, $250,000.00 fine, or both;
                 NMT 1 year supervised release; and a $100 Special Assessment Fee (per count).

                 COUNT FIFTY-THREE: NMT 20 years imprisonment, $1 million fine, or both;
                 NLT 3 years supervised release, $100 Special Assessment Fee.

 AGENT:          Special Agent Sara Aerts
                 Federal Bureau of Investigation

 AUTHORIZED BY:             ZACHARY PHILLIPS
                            Assistant U.S. Attorney



 ESTIMATED TIME OF TRIAL:

        five days or less                over five days             other

 THE GOVERNMENT

         will seek detention in this case                will not seek detention in this case

 The statutory presumption of detention is applicable to this defendant.

 OCDETF CASE:                         Yes WC CO 636                No

                                                      2
